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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                                              MDL No. 2595



                                  (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −1)



On February 4, 2015, the Panel transferred 4 civil action(s) to the United States District Court for
the Northern District of Alabama for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2015). Since that time, no additional action(s) have been
transferred to the Northern District of Alabama. With the consent of that court, all such actions have
been assigned to the Honorable Karon O. Bowdre.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Alabama and assigned to
Judge Bowdre.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Alabama for the reasons stated in the order of February 4, 2015, and, with the
consent of that court, assigned to the Honorable Karon O. Bowdre.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Alabama. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:



     Feb 17, 2015                                      Jeffery N. Lüthi
                                                       Clerk of the Panel
    Case 2:15-cv-00281-KOB
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IN RE: COMMUNITY HEALTH SYSTEMS, INC.,
CUSTOMER DATA SECURITY BREACH
LITIGATION                                                             MDL No. 2595



                 SCHEDULE CTO−1 − TAG−ALONG ACTIONS



 DIST     DIV.     C.A.NO.      CASE CAPTION


FLORIDA MIDDLE

  FLM        8     14−02893     Veciana v. Community Health Systems, Inc. et al

NEW MEXICO

                                Maes et al v. Community Health Systems Professional
  NM         1     14−01090     Services Corporation et al Opposed 02/17/2015

PENNSYLVANIA EASTERN

                                LUTZ v. COMMUNITY HEALTH SYSTEMS, INC. et
  PAE        2     14−06433     al

TENNESSEE MIDDLE

 TNM         3     15−00031     Murphy v. Community Health Systems, Inc. et al
